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          Exhibit 2
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TO:     Office of Student Conduct


FROM: Dean Danielle Holley-Walker, Howard University School of Law

RE:     Complaint against Michael Ray Newman, Howard Law Class of 2023

DATE: January 31, 2022


         This complaint is being filed under the Howard University Student Code of Conduct against
Michael Ray Newman (Howard Law Class of 2023) for unauthorized and abusive use of the University’s
email system and for continual harassment of member of the Howard Law community, and disturbance
of the learning environment at the School of Law.


        Factual Overview

        In January 2021, I began receiving complaints from law students about receiving unwanted
emails from Michael Ray Newman, a law student in the class of 2023. These emails included a
“manifesto” about his views on race in America and a movie recommendation intended to support
these views. (See Exhibit A)

         I met with Mr. Newman on January 28, 2021. I explained to him that the law school listservs are
only for use by the law school administration, approved student groups, and individual students who
seek prior permission from the law school administration. Despite this meeting, Mr. Newman continued
to post messages via email and TWEN (designated online learning platform for the law school). On
Sunday, January 31, 2020, at a school-wide forum many students complained about the harassment and
negative learning environment being created by Mr. Newman’s emails, TWEN messages, and GroupMe
posts.

        Based the widespread student and faculty complaints, I then had Mr. Newman removed from
the Class of 2023 listserv to make sure he would not send any more unauthorized mass emails.

         On January 25 2022, Mr. Newman sent a mass email to the student body that was an open
letter to me. This was not authorized by any member of the law school administration. I immediately
emailed Mr. Newman and I formed him that his use of the listservs was unauthorized. I met with Mr.
Newman on January 25, 2022. I explained to him again that his email message was a violation of the way
we use the listservs and the University email system. I told him not to use the University email system to
send unwanted messages to other students, faculty, and staff. I reiterated that the use of the Howard
University email system should not be used to harass or harm other students. (See Exhibit C)

         Despite this meeting and warnings over the course of a year, on January 29, 2022, Mr. Newman
used the Outlook system to send emails from his private gmail account to law school student email
addresses. This message made a false allegation that a recently deceased member of the Howard Law
Class of 2022, Saron Berhe, died due to receiving the COVID-19 vaccine and booster. I received many
student complaints and students complained of feeling harassed and traumatized. (See Exhibit B)
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        Applicable Code Provisions

      Based on the facts above, I believe Mr. Newman is in violation of the following portions of the
Howard University Student Conduct Code:

23. Use of Electronic Communication. Using University telecommunications, data communication
networks or any electronic means owned and operated by the University for illegal or improper
purposes or in violation of University regulations and policies, or related federal, state, or local laws is
strictly prohibited.

12. Harassment (Other than Harassment covered by Policies Implemented by the Title IX and/or EEO
Offices) Harassment is engaging in verbal, electronic, visual, written or physical behavior directed at an
individual or group that, in the view of a reasonable person, is likely to provoke or otherwise result in a
negative or injurious response, mental or emotional distress, or related reaction or consequence. This
behavior may include, but is not limited to: A. Making an expressed or implied threat of an action that
will affect another person’s academic pursuits, University employment, or participation in academic or
extracurricular activities sponsored by either the University or organizations or groups related to the
University B. Engaging in unwelcomed and unwarranted obstruction or interference with respect to a
person’s participation in educational, athletic or on-campus activity, personal pursuits, or employment,
which includes but is not limited to behaviors or communications which detract from or interfere with:
an instructor’s ability to provide instruction in the classroom, laboratory, clinical practicum or clerkship;
any activity directly related to teaching, instruction or academic advisement and counseling; or provision
or use of any and all academic support services provided throughout the University Community. C.
Creating an intimidating, demeaning or hostile situation or environment or inflicting personal, social,
academic, psychological or emotional harm, or undue stress.

        Argument

        Mr. Newman’s actions constitute multiple violations of the student code of conduct. First, he
has repeatedly used the Howard University email system for improper purposes. He used the email
system to distribute his personal views and opinions that were not part of any course or approved
student organization. He received multiple warnings and instructions about the proper use of the email
system, and he knowingly violated those policies.

        Mr. Newman’s conduct also constitutes harassment under the Code of Conduct. Mr. Newman
has been told by many students, faculty, and law school administration that his emails are unwanted
and are “disturbing” “disgusting” “degrading” in many ways. The students have asserted that these
communications harm the educational environment. As dean of the law school, I have personally
witnessed and experienced that Mr. Newman’s communications inflict psychological and emotional
harm, undue stress, and create a hostile environment for students, faculty, and administrators at the
law school.

        Conclusion

        Due to Mr. Newman’s repeated and ongoing violations of the Howard University Student Code
of Conduct, I ask that he be found to be in violation of the Code. I seek his expulsion from Howard
University School of Law.
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-----------------------------------------------------------
EXHIBIT A—EMAILS FROM MICHAEL RAY NEWMAN TO CLASS LISTSERV AND STUDENT COMPLAINTS
FROM JANUARY 2021
------------------------------------------------------------
From:
Sent: Tuesday, January 26, 2021 3:27 PM
To: Newman, Michael R <michael.newman@law.bison.howard.edu>; Olivares, Mariela
<molivares@law.howard.edu>
Subject: Re: Uncle Tom Documentary

Hi Dean Olivares - just a heads up that Mr. Newman is using the listserve to promote his ideology
despite our class's numerous objections and clear disinterest.

All the best,

---------- Forwarded message ---------
From: Newman, Michael <michael.newman@law.bison.howard.edu>
Date: Tue, Jan 26, 2021 at 3:10 PM
Subject: Uncle Tom Documentary
To: HUSL Class of 2023 <classof2023@law.bison.howard.edu>


Dear HUSLers,

The 2020 documentary film Uncle Tom is being made available to the 2023 class at a reduced rate,
which I covered. If you would like to watch the documentary in its entirety for free, click on the link
below. I ask you to limit yourself to one device, but on that one device you should be able to view for an
unlimited time:

https://uncletomshop.com/apps/downloads/orders/thayray%2540gmail.com/35236481

The views presented in this film offer a contrast to a lot of the assumptions that get passed around at
our school with little to no debate. While I am not wholesale endorsing every claim made, the need of
our student body to hear these alternative perspectives on American society and politics appeared so
great as to easily justify the cost.

Aloha,
Ray


----------------------------------------------------------------------------------------------------

From:
Sent: Thursday, January 14, 2021 3:50 PM
To: ziyadmotala@yahoo.com; Bawa, Jasbir; Herbert, Lenese; Schneider, Valerie; Thomas, Alice M;
djohnsonesq@hotmail.com; Olivares, Mariela; Etheridge, Tammi S
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Cc: Grier, Maurice J; Holley-Walker, Danielle R
Subject: Mr. Newman

Good afternoon professors,

I hope this email finds you all well. I would like to thank you for taking time out of your day to help
address this matter.

As several faculty have already been made aware, a member of our 1L class, Mr. Michael Ray Newman
§2, has been engaging in disturbing and inflammatory rhetoric for some time now. Several students
within §2 have brought this matter to the attention of their faculty and to the dean, but no official
administrative response has occurred thus far.

Mr. Newman's behavior is disruptive not only to §2, but to all students in our class, as he continues to
attempt to engage students in our class GroupMe, in lectures, and on other platforms. Mr. Newman’s
behavior has been extremely distressing for students in every 1L section and has substantially affected
our ability to communicate, socialize, and engage with each other in places we should be able to do so
confidently and safely, such as our class-wide GroupMe. Due to the pandemic, our ability to connect and
engage with each other is largely (and necessarily) limited to these virtual spaces, and the class feels Mr.
Newman's behavior here should be treated with the same seriousness as if he were making such
remarks in person or on HUSL's campus.

As students and burgeoning social engineers, we are all concerned about how to respond to Mr.
Newman's behavior and, perhaps more importantly, how HUSL’s administration will respond to it.

We have compiled materials related to this issue for your convenience and I am attaching them to this
correspondence.

Here is a link to a compilation of Mr. Newman's comments and actions made during class or on TWEN,
including screenshots Mr. Newman posted on TWEN without student’s permission:
https://nam04.safelinks.protection.outlook.com/?url=https%3A%2F%2Fdrive.google.com%2Fdrive%2Ff
olders%2F11JC7HDwQX8ETnUlAflfWJfTAzVIiA_MA%3Fusp%3Dsharing&amp;data=04%7C01%7Cdhwalke
r%40law.howard.edu%7C638ae8f5d9a44459207008d8b8cf4804%7C02ac0c07b75f46bf9b133630ba94b
b69%7C0%7C0%7C637462547722302670%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJ
QIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%3D%7C1000&amp;sdata=PZu2QZ%2BHElXXF0qTLCATF21
XB4dF%2FJx9c3ABsy3c6Go%3D&amp;reserved=0<https://nam04.safelinks.protection.outlook.com/?url
=https%3A%2F%2Fdrive.google.com%2Fdrive%2Ffolders%2F11JC7HDwQX8ETnUlAflfWJfTAzVIiA_MA%3
Fusp%3Dsharing&amp;data=04%7C01%7Cdhwalker%40law.howard.edu%7C638ae8f5d9a44459207008
d8b8cf4804%7C02ac0c07b75f46bf9b133630ba94bb69%7C0%7C0%7C637462547722312660%7CUnkno
wn%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%3D%7
C1000&amp;sdata=YlPpP8xcH9yNWJC9ca7Ihb59tXXeLYk2hH5RIrcAuAg%3D&amp;reserved=0<https://n
am04.safelinks.protection.outlook.com/?url=https%3A%2F%2Fdrive.google.com%2Fdrive%2Ffolders%2
F11JC7HDwQX8ETnUlAflfWJfTAzVIiA_MA%3Fusp%3Dsharing&data=04%7C01%7Ckaitlyn.mccalldelga%4
0law.bison.howard.edu%7Ce242480a75a743189f2108d8b8d0ffbf%7C02ac0c07b75f46bf9b133630ba94
bb69%7C0%7C0%7C637462555075324024%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLC
JQIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%3D%7C1000&sdata=%2BpG7csRcn2IXKmm4hfcssJ27Ho
mZhpNKlLrX6%2FTO3a0%3D&reserved=0>>
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Here is a link to the most recent video Mr. Newman posted on our class GroupMe:
https://nam04.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.youtube.com%2Fwatch%3
Fv%3Dflp7gKg5G4E&amp;data=04%7C01%7Cdhwalker%40law.howard.edu%7C638ae8f5d9a444592070
08d8b8cf4804%7C02ac0c07b75f46bf9b133630ba94bb69%7C0%7C0%7C637462547722312660%7CUnk
nown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%3D
%7C1000&amp;sdata=M%2B1q5CVLPLs91lShOA7w7XvKT2XxRc0TS8Dhdx6ibUs%3D&amp;reserved=0<h
ttps://nam04.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.youtube.com%2Fwatch%3F
v%3Dflp7gKg5G4E&amp;data=04%7C01%7Cdhwalker%40law.howard.edu%7C638ae8f5d9a4445920700
8d8b8cf4804%7C02ac0c07b75f46bf9b133630ba94bb69%7C0%7C0%7C637462547722312660%7CUnkn
own%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%3D%
7C1000&amp;sdata=M%2B1q5CVLPLs91lShOA7w7XvKT2XxRc0TS8Dhdx6ibUs%3D&amp;reserved=0<htt
ps://nam04.safelinks.protection.outlook.com/?url=https%3A%2F%2Fwww.youtube.com%2Fwatch%3Fv
%3Dflp7gKg5G4E&data=04%7C01%7Ckaitlyn.mccalldelga%40law.bison.howard.edu%7Ce242480a75a74
3189f2108d8b8d0ffbf%7C02ac0c07b75f46bf9b133630ba94bb69%7C0%7C0%7C637462555075334018%
7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn
0%3D%7C1000&sdata=aiGuYTestlnDs9yuBEo7KWqk7Cl8EXZPX%2B2GruLVIns%3D&reserved=0>>

Finally, attached please find: parts I-III of the self-published documents Mr. Newman posted to the Class
of 2023 GroupMe (re: the "manifesto" ) and a few screenshots of Mr. Newman's recent responses to
frustrated students who have tried to address Mr. Newman and his disruptive behavior directly.

Please note Mr. Newman’s continued use of White vs. “black” (lowercase and in quotes). This is not
accidental, and has been specifically addressed to Mr. Newman several times. He continues to ignore
these peer requests to be respectful of our Black identities in his correspondence.

Again, my classmates and I deeply appreciate your time and your assistance in this matter.


Bison best,




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From:
Sent: Tuesday, January 26, 2021 8:07:15 PM
To: Holley-Walker, Danielle R <dhwalker@law.howard.edu>; Olivares, Mariela
<molivares@law.howard.edu>
Subject: Fwd: Letter to Class of 2023, fourth and final part.

Hi Dean,

I hope you are well.

I’m sure you’ve heard of this situation or maybe your inbox is flooded with messages pertaining to this
situation. I just wanted to let you know that I have been quiet for months now in an attempt to ignore
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this situation. I have even offered my support to Ray by giving him assignment sheets, sitting on hour
phone calls with him, and opening my phone line to him. Not because I was obligated to do this but only
because I wanted Ray to feel included and welcomed. As someone from the inner city, I was taught at a
very early age to take up for all people and to fight for people who are overlooked. I never want to see
Ray, or anyone else mistreated or silenced at Howard and beyond the walls of our institution.

However, many months ago I decided to back away from this situation because Ray was becoming very
disruptive. I ignored the letters, group me messages, postings on our professors Twen pages, and now
emails. It’s not just disruptive anymore. Now I feel disrespected that Ray has started sending our class
emails. Ray is insisting on disrupting my education. This is passive, this is aggressive, and this is
disrespectful. As a Black woman, in the end my respect means the absolute world to me. It is the most
important to me. And that is something my mother always taught me to never negotiate. And as a
person who never wanted Ray to feel excluded, I am now asking that I am not copied on another one of
Rays messages to HUSL2023. It was very easy for me to ignore group me messages since I am not active
in chats, I am often silent, and I wanted to focus on my studies. However, I cannot receive unsolicited
emails. It’s simply unfair when I use this email for business purposes only.

I hope you understand my perspective. I have never bad mouthed Ray to my peers, nor have a sent Ray
an email or hateful messages. I just feel very disrespected and I don’t appreciate it.

I look forward to hearing back from you.

Best,



---------- Forwarded message ---------
From: Newman, Michael <michael.newman@law.bison.howard.edu>
Date: Tue, Jan 26, 2021 at 7:07 PM
Subject: Letter to Class of 2023, fourth and final part.
To: HUSL Class of 2023 <classof2023@law.bison.howard.edu>


This installment completes my letter addressing the controversy my comments ignited in the fall
semester. Anyone is welcome to write to me expressing their views.

“If liberty means anything at all, it means the right to tell people what they do not want to hear.” --
George Orwell

--

Juris Doctor Candidate '23
Howard University School of Law




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From: Newman, Michael <michael.newman@law.bison.howard.edu>
Sent: Friday, January 29, 2021 12:50 AM
To: McGahee, Reginald A <rmcgahee@law.howard.edu>
Cc: Holley-Walker, Danielle R <dhwalker@law.howard.edu>
Subject: Re: Sunday meeting.

Hello Dean McGahee,

Let's be realistic about the meeting Sunday: It is about me. It's your decision whether to seek the
participation of Denise Robinson or someone similarly trained, however, there is little chance for a
satisfactory outcome without a professional counselor or mediator present. Is there a compelling reason
not to request professional services?

Ray Newman

On Thu, Jan 28, 2021 at 6:29 AM McGahee, Reginald A <rmcgahee@law.howard.edu> wrote:

Good morning Ray,



The meeting Sunday is the regularly scheduled community meeting in place since the beginning of the
2020-2021 academic term. To clarify, the meeting is not to discuss you or any other student. One of the
topics will be the email regarding community policy and expectations that I shared on January 26 and to
allow the community to gather for support during these unique times. All are welcomed, but no one is
required to attend.



I remind you, the administration is available to you and if you or any other student needs to discuss
anything, please reach out to me. You expressed concerns of perceived hostility from students, I will join
the meeting you have scheduled with Dean Holley-Walker and we can hear your concerns at that
time. As you are located in Hawaii, if you feel any student interaction is inappropriate, we encourage
you to not engage until we can discuss and gather more information. It is now 11:30am est, if you have
urgent concerns that you feel cannot wait until our 12:30pm est meeting, feel free to call me.



All the best,



Reginald McGahee (he, him, his)
Associate Dean of Student Affairs and Admissions
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2900 Van Ness St., NW

Washington, DC 20008 |
(p) 202 806-8008 |
www.law.howard.edu

https://calendly.com/rmcgahee/



From: Newman, Michael <michael.newman@law.bison.howard.edu>
Sent: Wednesday, January 27, 2021 5:52 PM
To: McGahee, Reginald A <rmcgahee@law.howard.edu>
Cc: Holley-Walker, Danielle R <dhwalker@law.howard.edu>; Holley-Walker, Danielle R
<dhwalker@law.howard.edu>
Subject: Sunday meeting.



Dear Dean McGahee,



I welcome a class-wide meeting to discuss the controversies my comments have generated. At the same
time, given the overwhelming hostility I've received from students, especially given that administrators
have done nothing to counter that hostility and almost seem to encourage it, I would not feel
comfortable subjecting myself to what will likely be a tremendous amount of vitriol unless a trained
professional is present to mediate the discussion.



For this reason, I request that you seek the participation of Denise Robinson, who I believe is trained and
experienced in identifying and resolving conflicts and guiding groups to foster a spirit of inclusivity and
tolerance. If Ms. Robinson is not available at that time perhaps you could either reschedule the meeting
to fit her schedule or find someone else who is similarly qualified. Naturally, I would prefer Ms. Robinson
having seen her at work and found her to be well qualified.



Aloha,

Michael Newman
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EXHIBIT B—Email from Michael Ray Newman to law student email accounts on January 29, 2022 and
Student Complaints



---------- Forwarded message ---------
From: <thayray@gmail.com>
Date: Sat, Jan 29, 2022 at 12:33 PM
Subject: URGENT MESSAGE CALLING ON DEAN HOLLEY-WALKER TO DELAY MANDATORY BOOSTERS
To: Ray Newman <thayray@gmail.com>


                                        External Email Warning
    WARNING! Please proceed with caution as this message could be a scam. The sender's account may have been
compromised and used to send malicious messages. If this message seems suspicious, please DO NOT CLICK any of the
    links and/or attachments. If you believe the contents of this email may be unsafe, please send it as an
                attachment to the ETS Information Security Team: ets-infosec@howard.edu.

This month Howard University School of Law lost a treasured member of our community, 3L student
Saron Berhe. School officials have kept information regarding her cause of death confidential. In a
private meeting earlier this week Dean Holley-Walker refused to reveal any information, shamed me for
inquiring, and cited the family's right to privacy. Dean Holley-Walker fully assured me Saron's death was
in no way related to Covid or the Covid vaccine.

But a news report from a station in Saron's hometown casts doubt on the dean's assertion:
https://www.12news.com/article/news/community/accomplished-valley-woman-dies-unexpectedly-
while-in-pursuit-of-law-degree/75-5e34733c-975b-4617-af91-8c117669ede9

According to the newscast, Saron died from pulmonary embolism, "a condition caused by a blood clot
traveling into the lungs."

An internet search reveals several scientific studies* confirming a correlation between the Covid vaccine
and pulmonary embolism (PE). (Of note, studies also seem to show greater correlation between
infection and PE than between the vaccine and PE.)

For this reason, I ask you to join me in calling on Dean Holley-Walker to postpone the school's deadline
for vaccine boosters and allow students more time for inquiry into the potential risks of the Covid
vaccine to their health. Students should approach this decision with increased gravity in the wake of the
young woman's life that was lost.

While even the authors of the linked studies reaffirm vaccination as safe and effective for prevention of
Covid infection, the school should nonetheless allow students more time to research benefits and risks
of the vaccine so they can make informed decisions.

If you experience any symptoms following an mRNA vaccine, please see a health specialist. If you suffer
long-term effects from a vaccine contact me at thayray@gmail.com.
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Michael Ray Newman, 2L
Howard University School of Law

* https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8503345/
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8604520/
https://www.researchgate.net/publication/358139881_Deep_venous_thrombosis_and_pulmonary_em
bolism_after_COVID-19_mRNA_vaccination
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EXHIBIT C—EMAIL FROM MICHAEL RAY NEWMAN TO STUDENT BODY ON TUESDAY, JANUARY 25,
2022 AND REPLY

From: Holley-Walker, Danielle
Sent: Tuesday, January 25, 2022 10:02 AM
To: Newman, Michael <michael.newman@law.bison.howard.edu>; McGahee, Reginald
<rmcgahee@law.howard.edu>; Olivares, Mariela <molivares@law.howard.edu>
Subject: RE: Response to Open Letter on Covid Policy.

Mr. Newman,
This is an unauthorized use of the law school’s email system and the class listservs. Please refrain from
using these mediums of communication.

Thanks,
Dean Holley-Walker


Danielle Holley-Walker
Dean and Professor of Law
Howard University School of Law



From: Newman, Michael <michael.newman@law.bison.howard.edu>
Sent: Tuesday, January 25, 2022 9:42 AM
To: Holley-Walker, Danielle <dhwalker@law.howard.edu>; McGahee, Reginald
<rmcgahee@law.howard.edu>; Olivares, Mariela <molivares@law.howard.edu>; HUSLClassOf2022
<ClassOf2022@law.bison.howard.edu>; HUSLClassOf2023 <classof2023@law.bison.howard.edu>; HUSL
Class of 2024 <classof2024@law.bison.howard.edu>
Subject: Response to Open Letter on Covid Policy.

See attached pdf for a student response to yesterday's open letter on HUSL's Covid policy.
--
You received this message because you are subscribed to the Google Groups "HUSL Class of 2023"
group.
To unsubscribe from this group and stop receiving emails from it, send an email to
classof2023+unsubscribe@law.bison.howard.edu.
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From:
Sent: Saturday, January 29, 2022 2:11 PM
To: Holley-Walker, Danielle <dhwalker@law.howard.edu>
Subject: Fwd: URGENT MESSAGE CALLING ON DEAN HOLLEY-WALKER TO DELAY MANDATORY
BOOSTERS


Dear Dean,

I know you have already received an email about Ray's email below. I just wanted to reiterate that I have
been experiencing great difficulties with the passing of my dear friend, Saron. Her passing has affected
my studies, participation in class and life generally. As I was processing her passing, I awoke Saturday
morning to what I can only interpret to be an exploitation of her death and our grief. I am asking that
direct action be taken against Ray Newman due to this email.

Kind regards,




From:
Sent: Saturday, January 29, 2022 10:47:26 PM
To: Holley-Walker, Danielle <dhwalker@law.howard.edu>
Subject: Fwd: URGENT MESSAGE CALLING ON DEAN HOLLEY-WALKER TO DELAY MANDATORY
BOOSTERS

   You don't often get email from                                    Learn why this is important
Dean Holley-Walker,

I am sure by now you are aware of this email sent to some HUSL students.

I am completely disgusted by this student's continued disrespectful behaviour toward the HUSL
community, his complete disregard for Saron's life, and for those of us still grieving her loss. I
am not fortunate to claim a close friendship with Saron that many of her Section 1 classmates
may have had, but I feel her loss immensely, so I can only imagine how much more horrifying
this email was for those close to her. I am not aware of who specifically received this email, but it
is my understanding not all HUSL students received it.

I am very surprised to have received this email from his personal email because (1) I have never
met him personally/virtually; (2) I have never had a class with him; and (3) I have never been in
any space where I would interact with him directly or indirectly. All knowledge of him has been
passed either by my mentee, who I helped navigate being in his section her 1L year because he
repeatedly hindered their learning, or by friends unfortunate to have class with him, where he
fails to respect the professors as well.

However, this email did cause me great distress as to the vulgarity of using Saron's death as a
way to advocate his position against COVID boosters. This email has me concerned for my
general safety of coming to school as well since I unfortunately got COVID and I am still
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grappling with the lingering symptoms. So for a student to use two horrible events to
aggressively make a point in such a way, it felt emotionally violating. To the point of it inducing
nausea upon reading.

But if this email is a smidge of how this student is like in class, I implore you to remove this
student from our community immediately. At a minimum, please block his personal emails. He
is not here to learn, but to disrupt. He is not here to have constructive conversations, but to talk
down to or proselytize.

In truth and service,


Howard University School of Law | Class of 2022



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From:
Sent: Saturday, January 29, 2022 2:03 PM
To: Holley-Walker, Danielle <dhwalker@law.howard.edu>
Subject: Response to the Violation of Student Privacy

     You don't often get email from                                                        Learn why this is important
Good afternoon Dean Holley-Walker,

I hope this email finds you well. My name is                    and I am a 1L at HUSL. I am writing in
regard to an e-mail that I received from a 2L student at the law school, Michael Ray Newman. I have
never been in contact with this individual but the contents of the e-mail that I received were beyond
devastating. I genuinely regret reading the email and the only reason I looked into its contents is
because I saw your name within the subject line.

Again, this is only my first year at the law school but I made the decision to attend HUSL based on my
experience at the undergraduate university. In my view, Howard University is the epitome of what
community is and should be and I would not trade the sense of community I have felt while at Howard
for anything. However, the e-mail from Mr. Newman completely erodes that idea of community. To
advance one’s own agenda at the expense of depriving a fellow student and their family of their privacy,
is absolutely disgusting, especially in the wake of such a tragic loss.

While I am sure you have been made aware of this issue already, I personally could not remain silent on
such an outward display of disrespect toward another Bison. I appreciate you for considering my
concerns and trust that the situation will be handled accordingly. Thank you.

Sincerely,


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J.D. Candidate 2024 | Howard University School of Law



From:
Sent: Saturday, January 29, 2022 1:52 PM
To: Holley-Walker, Danielle <dhwalker@law.howard.edu>
Subject: Fwd: URGENT MESSAGE CALLING ON DEAN HOLLEY-WALKER TO DELAY MANDATORY
BOOSTERS

   You don't often get email from                                Learn why this is important
Good afternoon Dean Holley-Walker,

I hope your weekend is restful and going well! I just wanted to make sure that you are aware that this
student has forwarded these unfortunate types of emails to several other students. It’s deeply
disturbing that he would use the death of a classmate to make some point about vaccination policies. I
know everyone, of course, is entitled to their own opinions, but honestly I have seen this particular
student repeatedly harass other students and even professors with his points of view, inside and outside
of the classroom. His outbursts are always done in a distracting manner that is not conducive to learning
and it does not seem like he is at Howard Law to learn and be a productive member of our law school.
I’m sure you have received other emails informing you of this situation, but I did not want to sit by and
let this go unknown. Anyways, I really appreciate everything you do, I just wanted to share my thoughts.

Kindest regards,



---------- Forwarded message ---------
From: <thayray@gmail.com>
Date: Sat, Jan 29, 2022 at 12:33 PM
Subject: URGENT MESSAGE CALLING ON DEAN HOLLEY-WALKER TO DELAY MANDATORY BOOSTERS
To: Ray Newman <thayray@gmail.com>


From:
Sent: Saturday, January 29, 2022 12:50 PM
To: Holley-Walker, Danielle <dhwalker@law.howard.edu>
Subject: Urgent Issue

   You don't often get email from                                Learn why this is important
Dear Dean Holly Walker,

Hello! I just received this email to my Howard Law School account from Mr. Newman’s private gmail
account. This message calls you into question, references the passing of one our fellow students, and
discusses the vaccine mandate. This email has made me extremely uncomfortable. I have never spoken
to Mr. Newman one time on campus or through zoom or a groupchat. It also appears that I received this
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email not in a group. I am unsure if he is sending this to other students or not. I am sorry to bother you
with this over the weekend, but feel that you should see this email. Thank you for your time.

Sincerely,



---------- Forwarded message ---------
From: <thayray@gmail.com>
Date: Sat, Jan 29, 2022 at 12:33 PM
Subject: URGENT MESSAGE CALLING ON DEAN HOLLEY-WALKER TO DELAY MANDATORY BOOSTERS
To: Ray Newman <thayray@gmail.com>


From:
Sent: Saturday, January 29, 2022 12:45 PM
To: Holley-Walker, Danielle <dhwalker@law.howard.edu>
Cc:
Subject: Fwd: URGENT MESSAGE CALLING ON DEAN HOLLEY-WALKER TO DELAY MANDATORY
BOOSTERS

Dean,

Please see the following. I’m sorry to be bringing this to your attention. This is a truly an shameful act
on the part of Mr. Newman. I know you had spoken to him before about inappropriate usage of the list
serve. But this is completely inappropriate, insensitive, and downright disgusting.

Very truly yours,



---------- Forwarded message ---------
From: <thayray@gmail.com>
Date: Sat, Jan 29, 2022 at 12:33 PM
Subject: URGENT MESSAGE CALLING ON DEAN HOLLEY-WALKER TO DELAY MANDATORY BOOSTERS
To: Ray Newman <thayray@gmail.com>

> From:
> Sent: Saturday, January 29, 2022 12:59:39 PM
> To: Holley-Walker, Danielle <dhwalker@law.howard.edu>
> Subject: Ray’s Repeated
>
> Hello Dean Holly-Walker,
>
> It has come to my attention that a student has attempted invoke Saron’s death as a reason to block
the booster mandate. I cannot hold my tongue as this student, who has routinely harassed the student
body AND faculty for his own enjoyment and entertainment and has been allowed to stay on campus,
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now attempts to capitalize on my friends death. It’s disgusting. Something needs to be done so that this
man understands he cannot continue to act reprehensibly with impunity.
>
>

> J.D. Candidate 2022 - Howard University
